  Case 21-03005-sgj Doc 62 Filed 08/27/21           Entered 08/27/21 11:41:27      Page 1 of 5




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                             §                                 Case No. 19-34054-SGJ-11
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §                                 Chapter 11
                                   §
    Debtor.                        §
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
                                   §
v.                                 §
                                   §                                 Adversary No.: 21-03005-sgj
NEXPOINT ADVISORS, L.P.            §
                                   §
    Defendant.                     §

            STIPULATION AND AGREED ORDER GOVERNING DISCOVERY
                        AND OTHER PRE-TRIAL ISSUES

         This stipulation and agreed order (the “Stipulation”) is entered into between Highland

Capital Management, L.P. (the “Debtor”) and NexPoint Advisors, L.P. (“NexPoint”). The Debtor

and NexPoint are collectively referred to herein as the “Parties.”

                                           RECITALS

         WHEREAS, on April 13, 2021, NexPoint filed a Motion to Withdraw the Reference.

         WHEREAS, on July 8, 2021, the Bankruptcy Court filed its Report and

Recommendation to District Court Proposing that it (A) Grant Defendant's Motion to Withdraw

                                               -1-
CORE/3522697.0002/168702727
  Case 21-03005-sgj Doc 62 Filed 08/27/21             Entered 08/27/21 11:41:27      Page 2 of 5




the Reference at Such Time as Bankruptcy Court Certifies that Action is Trial Ready; and (B)

Defer Pretrial Matters to Bankruptcy Court [Docket No. 40] (the "Report").

         WHEREAS, the Debtor has indicated that it intends to file a First Amended Complaint,

asserting additional claims against NexPoint, as well as claims against new defendants, Nancy

Dondero and The Dugaboy Investment Trust.

         WHEREAS, the Parties intend to complete fact and expert discovery in this adversary

proceeding as governed by this Stipulation.

                                           STIPULATION

         NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING, THE

PARTIES HEREBY AGREE AND STIPULATE AS FOLLOWS:

         1.        This Stipulation supersedes any prior stipulation or scheduling order governing

the above-referenced adversary proceeding.

         2.        The Parties agree to the following deadlines regarding discovery and other pre-

trial deadlines:

                  The Parties agree that the Debtor will file and NexPoint will not oppose a Motion
                   for Leave to File First Amended Complaint by August 17, 2021, a copy of which
                   has previously been provided by the Debtor to NexPoint. Counsel for NexPoint
                   will accept service of the First Amended Complaint on behalf of NexPoint and the
                   additional defendants named in the First Amended Complaint.

                  NexPoint will have until August 30, 2021, to answer or otherwise respond to the
                   First Amended Complaint.

                  The Parties will serve written discovery demands (limited to new claims and
                   allegations in the First Amended Complaint) by September 3, 2021.

                  The Parties will respond to discovery requests by September 27, 2021 and will
                   also be substantially complete with document production by September 27, 2021.

                  Fact depositions will take place between October 1 and October 22, 2021.




                                                  -2-
CORE/3522697.0002/168702727
  Case 21-03005-sgj Doc 62 Filed 08/27/21             Entered 08/27/21 11:41:27        Page 3 of 5




                 Expert designations and disclosures of all opinions and the bases therefor, will be
                  made by October 29, 2021, and experts will be deposed between October 29,
                  2021 and November 8, 2021.

         3.       The Parties agree that discovery taken in this case will be consolidated with

discovery taken in the following adversary proceedings and all discovery in each of the

adversary proceedings will be treated as if it was taken in all of the adversary proceedings listed

below, so that each witness will only need to be deposed once and documents produced in any of

the proceedings are usable as if received in every other proceeding:

                 Highland Capital Management, L.P. v. James D. Dondero, Adv. Pro. No. 21-
                  03003;

                 Highland Capital Management, L.P. v. Highland Capital Management Fund
                  Advisors, L.P., Adv. Pro. No. 21-03004;

                 Highland Capital Management, L.P. v. Highland Capital Management Services,
                  Inc., Adv. Pro. No. 21-03006; and

                 Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint
                  Real Estate Partners, LLC), Adv. Pro. No. 21-03007.

         IT IS SO STIPULATED.




                                                  -3-
CORE/3522697.0002/168702727
  Case 21-03005-sgj Doc 62 Filed 08/27/21   Entered 08/27/21 11:41:27   Page 4 of 5




Dated: August 17, 2021

CONSENTED AND AGREED TO BY:


/s/ Davor Rukavina                        /s/ John A. Morris
Davor Rukavina, Esq.                      John A. Morris
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                                          L.P.
ATTORNEYS FOR DEFENDANT
NEXPOINT ADVISORS, L.P.


/s/ Michael P. Aigen                      /s/ Douglas S. Draper
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                                          INVESTMENT TRUST
ATTORNEYS FOR NANCY DONDERO




                                          -4-
CORE/3522697.0002/168702727
  Case 21-03005-sgj Doc 62 Filed 08/27/21        Entered 08/27/21 11:41:27      Page 5 of 5




                               CERTIFICATE OF SERVICE

       I certify that on August 17, 2021, a true and correct copy of the foregoing document was
served via the Court’s Electronic Case Filing system to the parties that are registered or
otherwise entitled to receive electronic notices in this case.

                                                   /s/ Julian P. Vasek
                                                   Julian P. Vasek




                                             -5-
CORE/3522697.0002/168702727
